Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 1 of 11 PageID 567




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


DENSIN JACOBO FORD DICANS,


v.                                                Case No. 8:04-cr-336-T-17MSS
                                                           8:06-cv-1797-T-17MSS
UNITED STATES OF AMERICA.
_____________________________________________

                                        ORDER

       Defendant Dicans moved to vacate, set aside, or correct an allegedly illegal

sentence pursuant to 28 U.S.C. § 2255. Doc. cv-1; cr-295. The Government filed a

response in opposition to the motion to vacate. Doc. cv-8. Dicans did not file a reply to the

response. A review of the record demonstrates that Dicans' motion to vacate must be

denied.

                                        Background

       On August 5, 2004, Dicans and five others were indicted on one count of conspiring

to possess with the intent to distribute 5 kilograms or more of a mixture or substance

containing a detectable amount of cocaine; and one count of possessing with the intent to

distribute 5 kilograms or more of a mixture or substance containing a detectable amount

of cocaine, both counts while on board a vessel subject to the jurisdiction of the United

States, in violation of Title 46 Appendix, U.S.C. §§ 1903(a) and 1903(g) and Title 21 U.S.C.

§ 960(b)(1)(B)(ii). (Doc. cr-1).

       On November 30, 2004, after entering into a plea agreement with the Government

(Doc. cr-93), Dicans pled guilty to Count One. Doc. cr-99. As part of his plea agreement,

Dicans expressly waived the right to appeal his sentence, “directly or collaterally, on any
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 2 of 11 PageID 568




ground, . . . except for an upward departure by the sentencing judge, a sentence above the

statutory maximum, or a sentence in violation of the law apart from the sentencing

guidelines . . . .” Doc. cr-93 at 12.

       During Dicans' change-of-plea hearing, the magistrate judge reviewed with him his

sentence appeal waiver and confirmed that he understood the consequences of that

waiver:

       The Court:     Now, there is also the standard waiver of the
                      right to appeal that’s contained in the plea
                      agreement on page 12. This provision requires
                      you to give up your right to file any appeal in this
                      case except in very limited circumstances. That
                      is, in the typical case when a defendant is
                      charged and convicted after a jury trial, the
                      defendant has almost as a matter of right the
                      ability to take their case to a higher court to have
                      that court consider what the lower court has
                      done, to decide whether it’s correct.

                      By signing this plea agreement you will not be
                      allowed to file any such appeal except in three
                      limited circumstances. First, if the government for
                      some reason were to appeal your sentence, you
                      would have the right to file a cross-appeal of your
                      sentencing challenging it except that you could
                      not challenge the constitutionality of the
                      sentence even if the government were to appeal.
                      Do you understand that, . . . Mr. Dicans?

       Dicans:        Yes.

       The Court:     In addition, if the court were to impose a
                      sentence against you that exceeded the statutory
                      or guideline maximums, then you could file an
                      appeal of that sentence claiming it to be
                      excessive. Do you understand that, . . . Mr.
                      Dicans?

       Dicans:        Yes.


                                               2
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 3 of 11 PageID 569




       The Court:    And, thirdly, if the court were to impose a
                     sentence that violated the law in some way other
                     than in the calculation of the guidelines, you
                     could file an appeal of that sentence claiming it
                     to be illegal. Do you understand that, . . . Mr.
                     Dicans?

       Dicans:       Yes.

       The Court:    But if the court makes an other error in any other
                     way or the government does anything that you
                     disagree with, you cannot take an appeal of
                     those actions unless they fall within the three
                     categories I have just described. If you attempt to
                     take an appeal in any other circumstance, it is
                     likely that the appeals court will not even look at
                     the merits of your appeal because the Court will
                     throw it out on procedural grounds because you
                     have give up your right to file an appeal in this
                     waiver. Do you understand that, . . . Mr. Dicans?

       Dicans:       Yes.

Doc. cr-300 at 22-24. The court found Dicans to be competent, to have given a knowing

and voluntary plea of guilty and to have stated sufficient facts in support of the charge. Doc

cr-300 at 41. As a result the magistrate judge recommended the Court accept the plea.

Doc. cr-300 at 41-42.

       On June 7, 2005, Dicans was adjudicated guilty by the District Court Judge. Doc.

cr-147. Although Dicans' guidelines range was determined at 135 to 168 months, the court

granted the government’s downward departure motion pursuant to Rule 5K1.1, and

sentenced Dicans to 108 months imprisonment with credit for time served followed by 60

months of supervised release. Docs. cr-180 and 187.

       On September 29, 2006, Dicans timely filed the current section 2255 motion. Doc.

cv-1 and 2. In his motion, Dicans raises the following issues:


                                              3
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 4 of 11 PageID 570




       a. The Court erred in not granting Dicans a two level decrease for minor role. Doc.

cr-2 at 8-12.

       b. Dicans' sentence was unreasonable. Doc. cr-2 at 13-14.

       c. The Court abused its discretion and committed error in finding and sentencing

Dicans to a quantity of drugs neither charged in the Indictment nor admitted to by Dicans.

Doc. cr-2 at 15-20.

       d. The court did not have subject matter jurisdiction when the Indictment failed to

charge a specific drug quantity as an element of the offense charged. Doc. cr-2 at 20-21.

       Although Dicans did not raise an issue of ineffective assistance of counsel for failure

to file an appeal, Dicans does mention in his petition that he requested that his court

appointed attorney file a Notice of Appeal, but that it was not done. Doc. cv-2 at 4. The

Court ordered Dicans' lawyer to provide the Court with an affidavit if he contested this

allegation. Doc. cv-4. Attorney Scott Robbins’ does contest this allegation and has provided

an Affidavit as requested by the Court. The affidavit and it’s enclosure is included as

Attachment 1 to the Government's Response.

                                           Waiver

       This Court is required to dismiss a section 2255 motion, without requiring the

Government to file an answer, “[i]f it plainly appears from the motion, any attached exhibits,

and the record of prior proceedings that the moving party is not entitled to relief[.]” Rule

4(b), Rules Governing Section 2255 Proceedings for the United States District Courts.

Moreover, if it is clear from the plea agreement and the Rule 11 colloquy that the defendant

knowingly and voluntarily waived his right to collaterally attack his sentence, “that waiver

should be enforced without requiring the Government to brief the merits of the section 2255

                                              4
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 5 of 11 PageID 571




motion.” United States v. Buchanan, 131 F.3d 1005, 1008 (11th Cir. 1997) (addressing

appeal waiver).

       The right to collaterally challenge a sentence is statutory and can be waived if done

so knowingly and voluntarily. Williams v. United States, 396 F.3d 1340, 1342 (11th Cir.

2005). For this Court to enforce such a waiver, the Government need only demonstrate

either (1) that the district court specifically questioned the defendant concerning the waiver

during the Fed. R. Crim. P. 11 colloquy or (2) that it is manifestly clear from the record that

the defendant otherwise understood the full significance of the waiver. United States v.

Bushert, 997 F.2d 1343, 1351 (11th Cir. 1993) (appeal waiver).

       A defendant’s waiver of the right to appeal “directly or collaterally” encompasses his

right to challenge his sentence in a section 2255 proceeding. See Williams, 396 F.3d at

1342; United States v. White, 307 F.3d 336, 341-44 (5th Cir. 2002); Garcia-Santos v.

United States, 273 F.3d 506, 508-09 (2d Cir. 2001); Davila v. United States, 258 F.3d 448,

451-52 (6th Cir. 2001); United States v. Cockerham, 237 F.3d 1179, 1183-87 (10th Cir.

2001); Mason v. United States, 211 F.3d 1065, 1069-70 (7th Cir. 2000). The waiver is

enforceable against claims of ineffective assistance of counsel at sentencing, because “a

contrary result would permit a defendant to circumvent the terms of the sentence-appeal

waiver simply by recasting a challenge to his sentence as a claim of ineffective assistance,

thus rendering the waiver meaningless.” Williams, 396 F.3d at 1342; see also Cockerham,

237 F.3d at 1182 (appeal and collateral attack waiver provision in plea agreement waives

the right to section 2255 petition based on ineffective assistance of counsel unless

challenge concerns the validity of the plea or waiver); Mason, 211 F.3d at 1069 (same). In

particular, if the complaint underlying the ineffective assistance claim was waived by a

                                              5
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 6 of 11 PageID 572




defendant’s plea agreement, then the ineffective assistance claim also was waived. See

Williams, 396 F.3d at 1342 (acknowledging that exceptions in plea agreement to

defendant’s waiver of appeal did not apply to the claims raised in the petition); United

States v. Djelevic, 161 F.3d 104, 107 (2d Cir. 1998) (although “dress[ed] up” as a Sixth

Amendment claim, defendant really is challenging the correctness of his sentence under

the guidelines and, therefore, is barred by the plain language of his plea agreement; to

allow his claim would be to “render[ ] meaningless” such plea agreement waivers). For the

reasons explained below, the record plainly demonstrates that Dicans waived his right to

collaterally challenge his sentence.

       In this case, Dicans expressly waived his right to appeal his sentence “directly or

collaterally, on any ground . . . except for an upward departure by the sentencing judge, a

sentence above the statutory maximum, or a sentence in violation of the law apart from the

sentencing guidelines.” Doc. cr-93 at 12. Furthermore, he confirmed at his change-of-plea

hearing that he understood the waiver, and he knowingly and voluntarily waived his right

to collaterally challenge his sentence. Doc. cr-300 at 22-25. In addition, Dicans' counsel

discussed the waiver of appeal with his client on numerous occasions. See Attachment 1

to the Government's response. Therefore, Dicans may not collaterally challenge his

sentence, as he purports to do here. See Williams, 396 F.3d at 1342. In Williams, the

Eleventh Circuit held that a plea-agreement waiver provision identical to one at issue here

“preclude[d] a § 2255 claim based on ineffective assistance at sentencing”). Id.

       For this Court to entertain the issues that Dicans raises in this collateral attack would

permit Dicans a challenge in contravention of the plain meaning of his plea agreement and

deny the Government the benefit for which it bargained. See Buchanan, 131 F.3d at 1008;

                                               6
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 7 of 11 PageID 573




see also United States v. Wenger, 58 F.3d 280, 282 (7th Cir. 1995) (defendant exchanged

his right to appeal for prosecutorial concessions, “he cannot have his cake and eat it too”).1

Here, Dicans admitted his guilt and agreed not to collaterally attack his sentence in

exchange for the Government's agreement to, among other things, move for dismissal of

count two, recommend a three-level downward adjustment for acceptance of responsibility,

not oppose application of the “safety valve” provision or a sentence at the low end of the

guidelines range and the possibility of a departure based on substantial assistance, all of

which he received at sentencing. See Doc. cr-93 and cr-187. Dicans should not be

permitted to circumvent the unambiguous terms of his plea agreement.

                                  Failure to File a Notice of Appeal

         Although Dicans has not made an ineffective assistance of counsel claim for failure

to file an appeal, he mentions in one quick sentence, without any supporting facts or

evidence, that he asked his counsel to file an appeal and he failed to do so. Doc. cv-2 at

4. Hence the Court has ordered Dicans' counsel to provide an affidavit if he were to contest

this claim.

        A claim that counsel rendered ineffective assistance by failing to perfect an appeal

is subject to the test established in Strickland v. Washington, 466 U.S. 668, 686 (1984). In

Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000), the Supreme Court “h[eld] that this test

applies to claims . . . that counsel was constitutionally ineffective for failing to file a notice


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          See Nunez v. United States, --- F.3d ---, 2007 WL 2177125 (7th Cir. 2007)(When a defendant
violates a plea agreement by appealing despite a promise not to do so, the prosecutor may withdraw
concessions made as part of the bargain.); United States v. Whitlow, 287 F.3d 638 (7th Cir. 2002) (defendant's
breach of promise in plea agreement not to appeal except as to issue of which of two versions of the
Sentencing Guidelines applied would entitle prosecutor on remand to reinstate any of charges that were
dismissed pursuant to the plea agreement); United States v. Hare, 269 F.3d 859 (7th Cir. 2001)


                                                      7
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 8 of 11 PageID 574




of appeal.” This test requires a case-by-case set of inquiries. Fores-Ortega, 528 U.S. at

477-86. Failure to file a notice of appeal is not deficient performance per se, and, when

failure to file a notice of appeal amounts to deficient performance, prejudice does not result

per se. Id.

       To determine whether failure to file a notice of appeal amounts to deficient

performance, a court must first resolve the question of whether counsel consulted with the

defendant about an appeal. Fores-Ortega, 528 U.S. at 477-81. If counsel did consult with

the defendant, counsel performed in a professionally unreasonable, and, therefore

deficient, manner only if counsel failed to follow the defendant’s express instructions with

respect to an appeal. Id. If counsel did not consult with the defendant, the court must

resolve the question whether counsel had a “duty to consult” with the defendant about an

appeal. Id. Counsel has a “constitutionally-imposed duty to consult with the defendant

about an appeal when there is reason to think either (1) that a rational defendant would

want to appeal, or (2) that this particular defendant reasonably demonstrated to counsel

that he was interested in appealing.” Flores-Ortega, 528 U.S. at 479-80. “In making this

determination, the court must take into account all the information counsel knew or should

have known.” Id. Highly relevant factors include whether the conviction resulted from a trial

or a plea and whether the defendant expressly waived his appellate rights. Id.

       Because the failure to file a notice of appeal results not in the denial of a fair

proceeding but in the denial of a proceeding altogether, to demonstrate prejudice, the

defendant merely must demonstrate that, but for his counsel’s omission, there is a

reasonable probability that he would have timely appealed. Flores-Ortega, 528 U.S. at 480-

82. If a defendant can make this showing, he is entitled to a belated appeal without regard

                                              8
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 9 of 11 PageID 575




to the merits of his forfeited appeal.2 Flores-Ortega, 528 U.S. at 481-82. While

demonstration of nonfrivolous grounds for appeal “will often be highly relevant” to this

determination, failure to demonstrate nonfrivolous grounds for appeal does not foreclose

the possibility that a defendant may establish prejudice. Flores-Ortega, 528 U.S. at 483-

86. Significantly, evidence that a defendant “sufficiently demonstrated to counsel an interest

in an appeal . . . alone is insufficient to establish that, had the defendant received

reasonable advice from counsel about the appeal, he would have instructed his counsel

to file an appeal. Flores-Ortega, 528 U.S. at 486. Thus, evidence that a defendant

“sufficiently demonstrated to counsel an interest in an appeal” alone does not demonstrate

prejudice–this is so because reasonable advice from counsel not to appeal may have

caused the defendant to decide not to request an appeal.

        As previously discussed Dicans in this case plead guilty, waived his right to appeal

his sentence, directly or collaterally, and received a very favorable sentence. While Dicans

need not allege meritorious grounds in order to establish any prejudice resulting from

counsel’s failure to appeal, that Dicans received a favorable sentence and had no viable

grounds for appeal made it reasonable for Dicans' counsel to conclude that a rational

defendant would not want to appeal. See Flores-Ortega, 528 U.S. at 478-80.

        Even though it was reasonable for counsel to conclude that his client did not want

to appeal, in an abundance of caution, counsel discussed with his client the appeal waiver

prior to and after sentencing. (Attachment 1 to the Government's Response at 2-3). Dicans



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          Should a defendant be granted a belated appeal because of trial counsel’s failure to file a notice
of appeal and should appellate counsel determine that no meritorious issue existed to present, appellate
counsel would be obligated to file a brief pursuant to Anders v. California, 386 U.S. 738 (1967).

                                                     9
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 10 of 11 PageID 576




 understood that his sentence did not meet any of the specific exceptional circumstances

 enumerated in the plea agreement that would entitle him to appeal his sentence. Dicans

 indicated that he was in agreement with the assessment that no appeal should be filed and

 he did not request an appeal. Id. at 3. Counsel also wrote Dicans a letter in Spanish

 confirming their conversation. (See Attachment 1 at 4-6). The record does not establish that

 Dicans expressed a desire to appeal; to the contrary, it is clear that this issue was

 discussed and settled. Therefore, Dicans has not established that, by his actions, he

 reasonably demonstrated his desire to appeal before the time for filing an appeal had

 passed. Accordingly, the record does not support a finding that Dicans' counsel performed

 deficiently by failing to follow Dicans' alleged request to file an appeal.

        Accordingly, the Court orders:

        That Dicans' motion to vacate (Doc. cv-1; cr-295) is denied. The Clerk is directed

 to enter judgment against Dicans in the civil case and to close that case.

                       CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,


                                                10
Case 8:04-cr-00336-E_K-E_J Document 305 Filed 09/10/07 Page 11 of 11 PageID 577




 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances.

        Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on September 10, 2007.




 AUSA: James C. Preston
 Densin Jacobo Ford Dicans




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